Case 3:23-cr-00072-RCY Document1 Filed 06/08/23 Page 1 ef 2 PagelD#t--=2 ss)

| | JUN - 8 dl

IN THE UNITED STATES DISTRICT COURT | weet TS DSTO So0RT |
FOR THE EASTERN DISTRICT OF VIRGINIA RICHMOND, VA
Richmond Division

)
) Criminal No. 3:23-CR- 7
UNITED STATES OF AMERICA )
) 18 U.S.C. § 922(g)(1)
v. ) Possession of a Firearm and Ammunition
) by a Convicted Felon
NAIM GREENE, ) (Count One)
)
)
Defendant. ) Forfeiture Notice
)
INDICTMENT

June 2023 TERM - At Richmond, Virginia

THE GRAND JURY CHARGES THAT:

COUNT ONE
(Possession of Firearm by Convicted Felon)

On or about February 7, 2023, in the Eastern District of Virginia and within the jurisdiction
of this Court, the defendant, NAIM GREENE, knowing that he had previously been convicted of
a crime punishable by imprisonment for a term exceeding one year, did knowingly possess a
firearm and ammunition, to wit: a Glock, model 27 GenS, .40 caliber pistol bearing serial number
BWKA855 and sixteen (16) rounds of .40 caliber ammunition marked “Hornady” and “40 S&W”",
in and affecting interstate commerce.

(In violation of Title 18, United States Code, Section 922(g)(1).)

FORFEITURE ALLEGATION

Pursuant to Rule 32.2(a) Fed. R. Crim. P., the defendant is hereby notified that if convicted

of the offense charged in Count One of this Indictment, the defendant shall forfeit any firearm or
Case 3:23-cr-00072-RCY Document1 Filed 06/08/23 Page 2 of 2 PagelD# 2

ammunition involved in or used in any knowing violation of the offense or any violation of any
other criminal law of the United States.
Property subject to forfeiture includes, but is not limited to:
a Glock, model 27 Gen5, .40 caliber pistol bearing serial number BWKA855;
sixteen (16) rounds of .40 caliber ammunition marked “Hornady” and “40 S&W”; and,
any and all other accompanying ammunition.
(In accordance with Title 18, United States Code, Section 924(d), incorporated by Title 28, United

States Code, Section 2461(c).)

A TRUE BILL

FOREPERSON

JESSICA D. ABER Pursuant to the E-Government Act,
UNITED STATES ATTORNEY the original of this page has been filed

. under seal in the Clerk's Office
By: i.) LA )
phen BCAnthony——

Assistant United States Attorney

